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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division


 BRYAN HARRELL,

                       Plaintiff,

 v.                                              Civil Action No. 2:24-cv-00428

 EQUIFAX INFORMATION SERVICES,
 LLC, EXPERIAN INFORMATION
 SOLUTIONS, INC., TRANS UNION,
 LLC, CITIZENS BANK, N.A., USAA
 FEDERAL SAVINGS BANK,

                       Defendants.


                            JOINT NOTICE OF SETTLEMENT

       Plaintiff Bryan Harrell (“Plaintiff”) and Defendant Citizens Bank, N.A. (“Citizens Bank”),

by and through their respective counsel, hereby notify the Court that Plaintiff has reached a

settlement that resolves his claims against Defendant Citizens Bank.

       Plaintiff is diligently working with Citizens Bank to finalize their settlement documents.

Pending execution of those documents, Plaintiff and Citizens Bank shall timely file the proper

form of dismissal.

                                                    BRYAN HARRELL

                                                    By: /s/ Leonard A. Bennett
                                                    Leonard A. Bennett, VSB #37523
                                                    Craig C. Marchiando, VSB # 89736
                                                    Mark C. Leffler, VSB # 40712
                                                    Adam W. Short, VSB # 98844
                                                    CONSUMER LITIGATION
                                                    ASSOCIATES, P.C.
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